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                         UNITED STA TES DISTRICT CO URT
                         SOUTH ERN D ISTRICT OF FLORIDA

                              CASE NO .10-80156-CR-HURLEY

 UNITED STATES OF AM ERICA,
      Plaintiff,

 V.

 JO H NN Y TH O M A S,
       D efendant.


           ORD ER AD OPTIN G M A GISTM TE JUD GE ' S REPOR TA ND
      RE COM M ENDA H ON A ND D EN YIN G M O TION T0 #f TURN PROPER TY

        THIS CAUSE comes before the courtupon the defendants'motion to return property

 pursuanttoFederalRule ofCriminalProcedure41(g), gDE 7181. Thismatterwasreferredto
  United StatesM agistrateJudgeJamesM .Hopkinsand onApril19,2013,M agistrateJudgeHopkins

  tiled a Report and Recommendation, (DE #7341. Upon consideration of the Reportand
  Recommendationandinaccordancewithz8U.S.C.j636(B)(1)(C)asnotimelyobjectionshavebeen
  tiled,thecourtconducted adenovoreview oftheReportand Recom lnendationsandisincomplete

  accord with the M agistrate'sfindingsoffactand conclusionsoflaw assetoutin the Reportand

  Recom mendation. The courtfurther finds the resolution ofthe issues as recom mended by the

  M agistrate Judge to be sound and well-reasoned and accordingly willadoptthe recomm ended

  disposition ofthe motion.

         Itistherefore ORDERED and ADJUDGED:

            TheM agistrate Judge'sReportand RecommendationsEDE //7341,upon defendant's
  motion to return propertypursuantto FederalRule ofCriminalProcedure41 (g),(DE 7181,is
  ADOPTED and INCO:ZO RATED in 1 11.
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       2 The defendants'm otion to return property isDENIED.

       DONE and SIGNED inChambersatW estPalm Beach,Floridathis 3 0 dayof

 April,2013.
                                                                      #
                                                            *

 copy furnished:                                    -.   W *2             d*
 ChiefM agistrateJudgeJam esM .Hopkins            D anielT.K .H url
 AUSA Rinku T.Tribuiani                        United StatesD istri Judge
 Valentin Rodriguez,Esq.




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